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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

 

CHAPTER 13 PLAN (Individual ‘Adjustment of Debts)

 

 

 

 

L] Original Plan
[mw] Ist Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
C] Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Jessielynn Avila JOINT DEBTOR: CASE NO.: 19-12708
SS#: XXXeXX 0455 SS#: Xxx-xx-
I. NOTICES .
- To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section HI, which may result in a ‘
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
out in Section IT]

Nonstandard provisions, set out in Section VIII . I] Included [w] Not included
I. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under. the plan:

[-] Included  , |[m] Not included

 

[] Included [m] Not included

 

 

 

 

 

 

 

1. $114.10 for months 1 to_60_;
B. DEBTOR(S)' ATTORNEY'S FEE: [-] NONE [[] PROBONO
Total Fees: $3650.00 Total Paid: $1190.00 Balance Due: $2460.00
Payable $77.73 ‘month (Months 1 to 31 )
Payable $50.37 ‘month (Months 32 to 32 )

Allowed fees under LR 2016-I(B)(2) are itemized belqw:
$3500 Attorneys Fees + $150 Cost = $3650

°

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
TH. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [mi] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
B. VALUATION OF COLLATERAL: [lf] NONE

C. LIEN AVOIDANCE [mi] NONE

D. SURRENDER OF COULATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

[ij] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

(] NONE

 

 

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Debtor(s): Jessielynn Avila Case number: 19-12708
fm] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

Name of Creditor ~ Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
' PennyMac Loan Service, Llc 8695 3930 Fern Fores Rd, Hollywood, FL

Pentagon Federal Credit 3817 * 2015 Mazda Mazda CX -9
2. Union

 

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [fm] NONE
B. INTERNAL REVENUE SERVICE: [i] NONE . |
C. DOMESTIC SUPPORT OBLIGATION(S): [ml] NONE
D. OTHER: ["] NONE

1. Name of Creditor: Yusimil Perez Rodriguez

 

Payment Address: 7500 West Avenue #203, Hialeah, FL 33016

 

 

 

Total Due: $1,560.00 ;
Payable $26.00 ‘month (Months 1 to 60 )
Regular Payment (if applicable) $0.00 ‘month (Months ss to_)
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A, Pay $27.30 /month (Months 32: to 32 )
Pay $77.73 /month (Months 33 to 60 ) °

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [if If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [i] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee. °

[-] NONE .

{®] Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be

terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

&

Name of Creditor Collateral Acct. No. (Last 4 Digits) Assume/Reject
Almacen Y Muebleria La Florida None None ;
1. USA. Inc. [_] Assume [ii] Reject

 

VIL... INCOME TAX RETURNS AND REFUNDS: [_] NONE

[i] Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
15th during the pendency of the Chapter 13 case. In the event the debtor(s)’ disposable income or tax refunds increase,
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. [Broward/Palm Beach cases]

VII. NON-STANDARD PLAN PROVISIONS [@] NONE

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Debtor(s): Jessielynn Avila Case number: 19-12708

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

\ | \, y \( Debtor | \1 \) Q Joint Debtor

 

 

Jesst n\Avila Date Date
\
Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

Ry a

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